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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

CENTAURO LIQUID OPPORTUNITY
MASTER FUND, L.P.,

                 Plaintiff,

        -v-                                                    No. 15 CV 9003-LTS-SN

ALESSANDRO BAZZONI, et al.,

                 Defendants.

-------------------------------------------------------x

                                                     ORDER

                 In light of the pending motion(s), the final pre-trial conference in the above-

captioned case, previously scheduled for January 15, 2021, is hereby adjourned to April 16,

2021, at 11:30 a.m.

        SO ORDERED.

Dated: New York, New York
       January 8, 2021

                                                                /s/ Laura Taylor Swain
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge
